Case 2:22-cv-00248-SVW-MAA Document 10 Filed 02/07/22 Page 1 of 4 Page ID #:27



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  9

 10                                       Case No. 2:22-cv-00248-SVW-MAA
       MICHELLE L. PRONTI,
 11                                       CERTFICATE OF SERVICE
                      Plaintiff,
 12                                       Complaint Filed: January 12, 2022
             v.
 13

 14    LEWIS MCDONNELL &
       ASSOCIATES,
 15
                      Defendant.
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Case 2:22-cv-00248-SVW-MAA Document 10 Filed 02/07/22 Page 2 of 4 Page ID #:28
Case 2:22-cv-00248-SVW-MAA Document 10 Filed 02/07/22 Page 3 of 4 Page ID #:29
Case 2:22-cv-00248-SVW-MAA Document 10 Filed 02/07/22 Page 4 of 4 Page ID #:30
